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October 30, 2019

Lev and Svetlana Parnas

Dear Lev and Svetlana:

As part of our annual business plan review, we have conducted an analysis in an effort to focus the
future direction of this accounting practice.

Accordingly, we have reviewed our clients’ needs to determine how each client fits in with the future
direction of the practice.

After careful consideration, we have decided that we will be unable to provide tax preparation services
to you as your accountants. This termination date is effective immediately. We are hopeful that you will
understand this action to control the direction of the practice.

We recommend that you gather your documentation and engage another accounting firm as soon as
possible in order to complete your return in a timely manner. With your permission, we will be pleased
to forward any copies of any previous years’ tax returns or tax documents to your new CPA firm. We do
not have any original tax documents in our possession. !f you would like us to send you a tax organizer
to assist you with gathering your tax information for your new CPA firm, please let us know.

We would like to thank you for your business in the past, and we look forward to helping you make a
smooth transition to your new accountants.

Sincerely,

Michael |, Daszkal, CPA
Daszkal Bolton LLP

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